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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,

               vs.

JONATHAN JOSHUA MUNAFO,
                                                                      INDICTMENT
                  Defendant.
_________________________________/

        The Grand Jury charges:

                                             COUNT 1
                             (Interstate Threatening Communications)

        On or about January 5, 2021, 7:25 p.m., in Calhoun County, in the Western District of

Michigan, Southern Division, and elsewhere,

                                JONATHAN JOSHUA MUNAFO

knowingly and willfully transmitted in interstate commerce from the State of North Carolina to

the State of Michigan, a telephone call to a Calhoun County 911 dispatcher containing a threat to

injure her.

        Specifically, when the dispatcher asked the defendant to stop making harassing phone

calls to the dispatch center, the defendant stated, “Fucking cunt, you’re gonna get hurt for this,

you really will!”

18 U.S.C. § 875(c)
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                                              COUNT 2
                              (Interstate Threatening Communications)

          On or about January 5, 2021, 7:26 p.m., in Calhoun County, in the Western District of

Michigan, Southern Division, and elsewhere,

                                 JONATHAN JOSHUA MUNAFO

knowingly and willfully transmitted in interstate commerce from the State of North Carolina to

the State of Michigan, a telephone call to a Calhoun County 911 dispatcher containing a threat to

injure her and her family.

          Specifically, the defendant said “Put a fucking cop on the phone now, you stupid bitch, or

it’s gonna go way worse for your family. I’m not joking, this is not some bullshit call!” When the

dispatcher responded, “Don’t make threats to me on this line, sir,” the defendant replied, “Hey

lady, I’m telling you, this isn’t a fucking threat, it’s a promise.” He further stated, “Bitch, I’m

gonna cut your throat. I’m gonna make you eat your fucking nose. I’m gonna hurt you bad for

this. It won’t be today, it won’t be tomorrow, it’ll be fucking soon, though, you stupid cunt.

Insurrection Act, I’m coming to your door first, and it’s public knowledge, you stupid, stupid

bitch!”

18 U.S.C. § 875(c)
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                                           COUNT 3
                             (Interstate Harassing Telephone Calls)

       On or about January 5, 2021, in Calhoun County, in the Western District of Michigan,

Southern Division, and elsewhere,

                              JONATHAN JOSHUA MUNAFO,

in interstate communications from the State of North Carolina to the State of Michigan, made

repeated telephone calls, during which conversation and communication ensued, solely to harass

a person at the called number and the person who received the communication.

47 U.S.C. § 223(a)(1)(E)

                                            A TRUE BILL



                                            __________________________________________
                                            GRAND JURY FOREPERSON
ANDREW BYERLY BIRGE
United States Attorney


___________________________________
NILS R. KESSLER
Assistant United States Attorney
